  Case 2:18-cv-09303-JMV-MF Document 21 Filed 05/01/19 Page 1 of 1 PageID: 165




                              UNITED STATES DISTRJCT COURT
                                 DISTRICT OF NEW JERSEY


 SARAH A. BULUT,

                       PlaintW,
                                                               Civil Action No. 18-9303
             V.
                                                                       ORDER
 JP MORGAN CHASE BANK, N.A., et al.,

                      Defendants.



John Michael Vazguez, U.S.D.J.

          For the reasons set forth in the accompanying Opinion, and for good cause shown,

          IT IS on this 1st day of May, 2019,

          ORDERED that the motion to dismiss Plaintiffs Complaint, D.E. I, filed by Defendants

JP Morgan Chase Bank, NA.; Visa USA, Inc.; and Visa, Inc., D.E. 9, is GRANTED; and it is

thrther

          ORDERED that the Complaint, D.E. 1, is dismissed in its entirety. Dismissal is without

prejudice and Plaintiff is granted leave to file an Amended Complaint. Plaintiff has thirty (30)

days to file an Amended Complaint, if she so chooses, consistent with the accompanying Opinion.

If Plaintiff fails to file an Amended Complaint within thirty days, the dismissal will be with

prejudice.




                                                     John Michael Vazqu4 UM.D.J.
